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                    EXHIBIT 39
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                                                                      Larsen & Toubro Limited
                                                                      Secretarial Department
                                                                      L&T House, Ballard Estate
                                                                      Narottam Morarjee Marg
                                                                      Mumbai - 400 001, INDIA
                                                                      Tel: +91 22 6752 5656
                                                                      Fax: +91 22 6752 5858
                                                                      www.Larsentoubro.com


     SEC/SS                                                February 18, 2019

     The Secretary                           National Stock Exchange of India Limited
     BSE Limited                             Exchange Plaza, 5th floor
     Phiroze Jeejeebhoy Tower                G Block
     Dalal Street                            Bandra Kurla Complex
     Mumbai – 400 001                        Bandra (East)
                                             Mumbai – 400 051

                                                          Stock Code : 500510/ LT
     Dear Sirs,

                Sub: News Clarification/ Verification -February 18, 2019
                 “Cognizant used L&T to bribe govt officials in India”

     We have for reference your email dated February 18, 2019.

     We wish to clarify that Cognizant Technology Solutions (“CTS”), a longtime
     customer of Larsen & Toubro, had reached a settlement with the U.S.
     Department of Justice (“DOJ”) and the U.S. Securities and Exchange
     Commission (“SEC”) in which it has acknowledged violations of the U.S.
     Foreign Corrupt Practices Act (“FCPA”) in connection with certain construction
     projects in India.    This settlement appears to arise from an internal
     investigation by CTS that it first announced on September 30, 2016.
     While we cannot comment on Cognizant’s decision to enter into these
     settlements, we are not aware of any evidence that supports our involvement
     in making the alleged improper payments. We confirm that neither we nor any
     of our employees are a party to the proceedings brought in the United States.
     We have no further comments to make on this issue.

     Thanking you,

                                                      Yours faithfully,
                                              For LARSEN & TOUBRO LIMITED




                                                     ( N. HARIHARAN )
                                                   COMPANY SECRETARY
                                                          ACS-3471




     CIN : L99999MH1946PLC004768
